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          ®
                       Matching RGB Color from
   ®           ®
                       Monitor to Printer
                       Adobe Developer Support




                       Technical Note #5122




                       14 February 1992




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                         Matching RGB Color from
                         Monitor to Printer


                    1    Introduction

                         A source of chronic disappointment for users of color applications is the dif-
                         ference between the colors they see on a display device when they design an
                         image, and the colors they get when they print that image. A related source of
                         disappointment is the difference between colors seen for the same document
                         when reproduced on different color printers.

                         Although a color speciﬁcation used on one device can be converted to a
                         second color speciﬁcation that can be used on a second device to produce the
                         same color, this is not easy when going from monitor to printer. Also, such
                         conversion still does not provide a single document that will reproduce with
                         consistent color across printers.

                         Applications that use the new color features available in PostScript™ Level 2
                         can produce color documents that print with matching color from a given
                         monitor to any Level 2 color device. There is no need to match colors by con-
                         verting color speciﬁcations for use on a printer. No speciﬁc knowledge of the
                         Level 2 printer to be used is required. The color documents created by such
                         applications can be reproduced with matching color on any properly cali-
                         brated Level 2 color device.

                  Note   The term “device” is used here because printers are not the only kind of
                         device that can have PostScript Level 2 interpreters available.

                    2    Device-Independent Color and Color Documents

                         The practice of characterizing color devices, and using those characteriza-
                         tions for matching color between particular devices, is not new. What is new
                         with the advent of PostScript Level 2 is the ability it provides to divorce the
                         production of color documents from their reproduction with matching color.

                         It is not necessary to specify colors in a selected standard color space to
                         make them device-independent (although Level 2 does support various stan-
                         dard color spaces, as well as the RGB spaces discussed here). Instead, the
                         color space where the colors in question happen to be speciﬁed can be


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                                described in terms of a standard color space, or reference color space. The
                                color speciﬁcations together with the description of their color space are
                                device-independent. Device-independent color has the potential to be dis-
                                played or printed anywhere as originally intended, subject to the limitations
                                of the devices involved.

                        Note    Some compromise must be made when the device cannot produce a requested
                                color. A discussion of color gamut, white point adjustment, and other topics
                                relevant to matching color across very different devices is outside the scope
                                of this paper. A wealth of material is available dealing with color reproduc-
                                tion and color science. The “PostScript Language Reference Manual, Second
                                Edition” lists several books in its bibliography that can be consulted for fur-
                                ther information.

                                PostScript Level 2 devices provide support for device-independent color by
                                allowing applications to describe the color space in which they work using
                                the Level 2 operator setcolorspace, and to then use their (now calibrated)
                                RGB values unaltered with either setcolor or the dictionary form of the
                                image operator. The resulting document has device-independent color speci-
                                ﬁcations and will print with matching color on any Level 2 color printer.

                                Applications which use Level 2 color support to provide matching color from
                                monitor to printer must know the color characteristics of the relevant monitor,
                                and how to describe those characteristics using setcolorspace.

                           3    Monitor Color Characteristics

                                Color monitors are often characterized in terms of the following:

                                • Phosphor chromaticity coordinates for each red, green, blue phosphor.

                                   These coordinates provide information about how red the red is, how
                                   green the green, and so on. One monitor’s red might be bluer than the next
                                   monitor’s red, for example. This must be taken into account when describ-
                                   ing the monitor’s color capabilities. Phosphor chromaticities, once deter-
                                   mined, are relatively constant over the life of a monitor.

                                • White point chromaticity coordinates.

                                   These serve as an indication of the color cast of the full white currently
                                   available on the display. Unlike phosphor chromaticity, white point chro-
                                   maticity is readily altered, either intentionally or unintentionally, by users
                                   or their software. Users can use a bluish white point when designing
                                   images for video applications, and a warmer (redder) white point when
                                   designing an image to be reproduced on paper.




  6      Matching RGB Color from Monitor to Printer                                                   (14 Feb 92)
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                       • A gamma function for each phosphor.

                         Gamma functions map the speciﬁed RGB values to the intensity levels
                         used for those values when displayed. Each phosphor can have a different
                         gamma function; often all three use the same one. Gamma functions are
                         frequently speciﬁed as exponents to be applied to the RGB component
                         values. Like the white point, the gammas in use on a given monitor can be
                         changed.

                       Table 1 provides an example set of monitor characteristics.

                       Table 1 RGB phosphor and white point chromaticity coordinates

                       Phosphor            R              G                 B                White point

                       x coordinate        0.6250         0.2800            0.1550           0.3127
                       y coordinate        0.3400         0.5950            0.0700           0.3290
                       Gammas              1.8            1.8               1.8


                       The monitor characteristics listed in Table 1 must be known or approximated
                       to describe the monitor color space to a Level 2 interpreter. The more accu-
                       rate the monitor description, the more closely colors can be matched. There
                       are some additional characteristics which are not required, but which can be
                       used to describe the monitor color space more closely. Default values will be
                       used for such unspeciﬁed characteristics; for instance, no black point was
                       given above, and so a default black point will be assumed. Such additional
                       information should be used, when available. See the PostScript Language
                       Reference Manual, Second Edition for details.




                                                                3 Monitor Color Characteristics        7
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                           4    Setting the Monitor Color Space

                                Once the current color characteristics of the display device are known, the
                                appropriate call to setcolorspace can be built. For a full description of the
                                CIEBasedABC color space and the setcolorspace operator, refer to the
                                PostScript Language Reference Manual, Second Edition.

                                The following code establishes a color space corresponding to the monitor
                                characteristics shown in Table 1:

                                   [/CIEBasedABC <<
                                      /DecodeLMN [{1.8 exp} bind dup dup]
                                      /MatrixLMN [ 0.4497 0.2446 0.0252
                                                   0.3163 0.6720 0.1412
                                                   0.1845 0.0833 0.9227]
                                      /WhitePoint [0.9505 1 1.0890]
                                   >>] setcolorspace


                                The CIEBasedABC color space must be selected if matching color is desired.
                                The entries shown in the dictionary are constructed from the monitor’s
                                known characteristics. Equations that produce the values needed for the
                                MatrixLMN and WhitePoint entries from the available chromaticity informa-
                                tion are given below.


                                   z = yW × ( ( xG – xB ) × yR – ( x R – xB ) × yG + ( x R – xG ) × yB )


                                         yR ( xG – xB ) × yW – ( xW – xB ) × yG + ( xW – xG ) × yB
                                   Y L = ----- × --------------------------------------------------------------------------------------------------------------------------
                                          R                                                                  z
                                               xR                                                   1–x
                                   X L = Y L × -----                                  Z L = Y L ×  --------------R- – 1
                                               yR                                                  yR                  



                                           y         ( x R – xB ) × yW – ( xW – xB ) × yR + ( xW – x R ) × yB
                                   Y M = – -----G- × -------------------------------------------------------------------------------------------------------------------------
                                            G                                                                    z
                                               xG                                                   1–x
                                   X M = Y M × ------                                 Z M = Y M ×  --------------G- – 1
                                               yG                                                  yG                  



                                         yB ( x R – xG ) × yW – ( xW – xG ) × yR + ( xW – x R ) × yG
                                   Y N = ----- × ---------------------------------------------------------------------------------------------------------------------------
                                          B                                                                  z
                                               xB                                                   1–x
                                   X N = Y N × -----                                  Z N = Y N ×  --------------B – 1
                                               yB                                                  yB                 



                                   XW = R × XL + G × XM + B × XN
                                   YW = R × YL + G × YM + B × YN
                                   ZW = R × ZL + G × ZM + B × ZN




  8      Matching RGB Color from Monitor to Printer                                                                                                                              (14 Feb 92)
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                       Table 2 shows the correspondence between monitor characteristic values and
                       the notation used in the equations.

                       Table 2 Monitor characteristics and corresponding variable names

                       Phosphor            R             G               B                White point

                       x coordinate        xR            xG              xB               xW
                       y coordinate        yR            yG              yB               yW
                       Gammas              gammaR        gammaG          gammaB


                       Note chromaticity coordinates (lower case) are being used to get CIE XYZ
                       tristimulus values (upper case). When gamma functions are given in exponent
                       form, they can be used with calls to the PostScript language operator exp to
                       build the decode functions.

                       Once the tristimulus values have been determined, they are used as follows:

                         [/CIEBasedABC <<
                             /DecodeLMN [ {gammaR exp} bind
                                          {gammaG exp} bind
                                          {gammaB exp} bind]
                             /MatrixLMN [ XL YL ZL
                                          XM YM ZM
                                          XN YN ZN]
                            /WhitePoint [XW YW ZW]
                         >>] setcolorspace


                       The code in Example 1 demonstrates building the dictionary part of the call
                       to setcolorspace from monitor chromaticity coordinates and gamma
                       exponents:




                                                           4 Setting the Monitor Color Space         9
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                                Example 1: Monitor characteristics to setcolorspace dictionary
                                   /*
                                   * Utility function returning a single set of tristimulus values
                                   */

                                   static void makeXYZ (double sign, double z, double x1, double y1,
                                                 double x2, double y2, double x3, double y3,
                                                 double xW, double yW, double *X, double *Y, double *Z)
                                   {
                                     *Y = sign * y1 * ((yW * (x2 - x3) - y2 * (xW - x3) + y3 * (xW - x2))
                                                 / z);
                                     *X = *Y * (x1 / y1);
                                     *Z = *Y * (((1 - x1) / y1) - 1);
                                   } /* end function makeXYZ */

                                   /*
                                   * Builds a string creating a dictionary for setcolorspace based
                                   * on monitor chromaticity coordinates and gamma exponent values.
                                   * Returns a pointer to that string, if successful.
                                   */

                                   char *makeCIEABCdict (double xR, double yR, double xG, double yG,
                                                   double xB, double yB, double xW, double yW,
                                                   double gR, double gG, double gB)
                                   {
                                     char *stringPS;
                                     int numchars;
                                     double z, XL, YL, ZL, XM, YM, ZM, XN, YN, ZN, XW, YW, ZW;

                                       getMem (stringPS, 256, char, errorExit ("makeCIEABCdict:
                                                                       \malloc failed\n"););

                                       z = yW * (yR * (xG - xB) - yG * (xR - xB) + yB * (xR - xG));

                                       makeXYZ (1, z, xR, yR, xG, yG, xB, yB, xW, yW, &XL, &YL, &ZL);
                                       makeXYZ (-1, z, xG, yG, xR, yR, xB, yB, xW, yW, &XM, &YM, &ZM);
                                       makeXYZ (1, z, xB, yB, xR, yR, xG, yG, xW, yW, &XN, &YN, &ZN);

                                       XW = XL + XM + XN; YW = 1; ZW = ZL + ZM + ZN;

                                     if ((numchars = sprintf (stringPS, "3 dict 3 {dup} repeat\n\
                                   /DecodeLMN [{\n\
                                   %.2f exp} bind {\n%.2f exp} bind {\n%.2f exp} bind] put\n\
                                   /MatrixLMN [\n %.4f %.4f %.4f %.4f %.4f %.4f %.4f %.4f %.4f ] put\n\
                                   /WhitePoint [\n%.4f %.4f %.4f ] put\n", gR, gG, gB,
                                   XL, YL, ZL, XM, YM, ZM, XN, YN, ZN, XW, YW, ZW)) < 100)
                                       errorExit ("makeCIEABCdict: couldn't build string\n");

                                       return stringPS;

                                   }    /*   end function makeCIEABCdict    */


                                Although the way the monitor characteristics are expressed above is the most
                                common, this same information can be given in another form. The chromatic-
                                ity information used above can still be derived from these alternate forms. As
                                noted earlier, there are many good references on these topics.



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                     5    Setting the Color Values

                          Once the color space has been described and set with setcolorspace, the
                          color data can be sent and will be reproduced as it appeared in the color space
                          just described.

                   Note   This occurs to the extent possible. There are colors monitors are capable of
                          displaying that no printer can reproduce, and vice versa. Ways of dealing
                          with this are not discussed in this paper.

                          Applications developers should be aware that although the RGB values do
                          not have to be altered, they must be used with setcolor or the dictionary form
                          of the image operator to have those values interpreted according to the color
                          space just set. As documented in the PostScript Language Reference Manual,
                          Second Edition, colors set with device-dependent color operators such as
                          setrgbcolor will not be converted, and the color space will be set to the cor-
                          responding device-dependent one.

                   Note   If you want to use a device-dependent color operator after having set a CIE-
                          based color space, that section of code can be bracketed with gsave/
                          grestore to avoid altering the global color state.


                     6    Level 2 Printers and Device-Independent Color

                          Previous sections have detailed the production of a PostScript Level 2 docu-
                          ment with device-independent calibrated RGB color speciﬁcations. Strictly
                          speaking, using the operators setcolorspace, setcolor, and the dictionary
                          form of the image operator correctly are all that an application producing a
                          document with portable color need care about. On the other hand, it should
                          be apparent that there is a lot of work going on in the Level 2 printer to pro-
                          vide the color matching and readers may be curious about what that work is.

                          Conceptually speaking, two things happen on a Level 2 printer when a CIE-
                          based color space is used:

                          • The interpreter uses the color space description provided by the applica-
                            tion to map the colors speciﬁed to their values in the reference color space.
                            This is a device-space to standard-space conversion (monitor to standard).

                          • The interpreter then takes these reference color space values and turns
                            them into corresponding printer colors as directed by the current color ren-
                            dering dictionary. A default color rendering dictionary has been developed
                            for each Level 2 color printer to provide matching color across printer
                            models and instances. This is a standard-space to device-space conversion
                            (standard to printer).




                                                                      5 Setting the Color Values       11
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                                In practice, these tasks may not be done as separate steps. The PostScript
                                interpreter combines multiple operations into a single compound operation
                                whenever possible, both to improve performance and to avoid a loss of
                                numerical precision.

                                The behavior of the default color rendering dictionary is to provide matching
                                color when possible, for the usual paper stocks, inks, and so on. Color
                                devices, which can be used with different paper stocks, different inks, and so
                                on, may provide a variety of color rendering dictionaries, to be chosen at
                                print time according to the media used.

                                Like the availability of alternate paper trays, the availability of alternate color
                                rendering dictionaries for a particular printer is device-dependent. Color ren-
                                dering dictionary selection, if some dictionary other than the default is
                                desired, should be done at print time, as part of printer setup, and, like paper
                                tray selection, should not be done as part of any PostScript language docu-
                                ment intended to be portable.

                                Any invocation of setcolorrendering within a PostScript language docu-
                                ment defeats the division between the device-independent color speciﬁcation
                                and the device-dependent color conversion that allows these documents to be
                                color portable.

                           7 Device-Independent Color and Level 1 Devices

                                PostScript Level 2 documents that are device-independent with respect to
                                color will not be printed with matching color on Level 1 devices. The
                                machinery supporting matching color on Level 2 devices is not present on
                                Level 1 devices.

                                Even though the support for matching color is not present, PostScript Level 2
                                documents should not fail to print on Level 1 devices. As for many Level 2
                                features, self conﬁguring code can be used in the documents that will use the
                                Level 2 features where available, and do something reasonable where not.

                                 Several papers have been written about emulating Level 2 features and creat-
                                ing self conﬁguring code. See

                                • the PostScript Language Reference Manual, Second Edition, Appendix D,
                                  Compatibility Strategies

                                • Technical Notes #5111, “Emulation of the setstrokeadjust Operator;”
                                  #5112, “Emulation of the makepattern and setpattern Operators;”
                                  #5113, “Emulation of the execform Operator;” and #5123, “Emulation of
                                  the rectclip, rectfill, and rectstroke Operators.”




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                        Some of the emulations described in the papers are not complete, in that not
                        all aspects of the Level 2 features are readily emulated on Level 1. Because
                        the CIE-based color spaces are not available on Level 1, emulations of
                        setcolorspace, setcolor, and the dictionary form of the image operator fall
                        into the class for which only partial emulations can be constructed.

                        One such partial emulation of setcolor and setcolorspace is shown below.
                        All the device color spaces that can be set with setcolorspace can of course
                        be set using these emulations. As a bonus for Level 1 systems, the emulations
                        include one for the setcmykcolor operator, which is not present on all
                        Level 1 systems. The Indexed color space (in its device-dependent incarna-
                        tions) is also provided here.

                        The CIE-based color spaces will be mapped to the device color space that has
                        the corresponding number of color components; if CIEBasedABC is
                        selected, the emulation will use setrgbcolor for the three color components.
                        For calibrated RGB color spaces, this will at least leave the appearance of the
                        document no worse off than if setrgbcolor had been used to begin with. An
                        application using this code as is would have to limit itself to setting calibrated
                        RGB color spaces. It would also have to note that images are not supported.

                        The following code is intended as a demonstration of how Level 2/Level 1
                        compatibility might be achieved. Any serious emulation code for these opera-
                        tors would also include some provision for the dictionary form of the image
                        operator.

                        The emulation package deﬁnes two procedures.The scs procedure emulates
                        the Level 2 setcolorspace operator, and the sc procedure emulates setcolor.
                        This code is self-conﬁguring. If executed on a Level 1 printer, the emulation
                        procedures are used. If executed on a Level 2 printer, setcolor is loaded into
                        sc and setcolorspace is loaded into scs.

                        Example 2: Partial emulations of the setcolorspace and setcolor operators
                           % some utility procedures
                           /bd { bind def } bind def
                           /ld { load def } bd
                           /xd { exch def } bd
                           /gs /gsave ld
                           /gr /grestore ld

                           % a place to save color space information
                           % and procedures for saving and accessing that info
                           /ColorDict 10 dict def
                           /pd { ColorDict 3 1 roll put } bd
                           /gd { ColorDict exch get } bd

                           % set a boolean indicating language level
                           /Level2? /languagelevel where {
                              pop languagelevel 2 ge { true } { false } ifelse
                           } { false } ifelse def




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                                   % emulate setcmykcolor if not present, using method shown in
                                   % PLRM Section 6.2.4: Conversion from DeviceCMYK to DeviceRGB
                                   /setcmykcolor where { pop } {
                                      /setcmykcolor {
                                         1 sub 4 1 roll
                                         3 {
                                             3 index add neg dup 0 lt { pop 0 } if 3 1 roll
                                         } repeat
                                         setrgbcolor pop
                                      } bind def
                                   } ifelse

                                   % the actual setcolorspace and setcolor emulations
                                   Level2? {
                                       % A level 2 device
                                       % Define sc and scs to be setcolor and setcolorspace
                                       pop
                                       /scs /setcolorspace ld
                                       /sc /setcolor ld
                                   } {
                                       % A Level 1 device!
                                       % Save the number of arguments that each color space takes
                                       % in the ColorDict dictionary
                                       /ColorValues 5 dict begin
                                           /DeviceGray 1 def
                                           /DeviceRGB 3 def
                                           /DeviceCMYK 4 def
                                           /CIEBasedABC 3 def
                                           /CIEBasedA 1 def
                                           currentdict
                                       end pd

                                      /ColorValue? { /ColorValues gd exch get } bd

                                      % Define a ColorProc dictionary in the ColorDict.
                                      % Assign a Level 1 operator to each device color space.
                                      /ColorProcs 5 dict begin
                                         /DeviceGray /setgray ld
                                         /DeviceRGB /setrgbcolor ld
                                         /DeviceCMYK /setcmykcolor ld
                                         /CIEBasedABC /setrgbcolor ld
                                         /CIEBasedA /setgray ld
                                         currentdict
                                      end pd

                                      /ColorProc? { /ColorProcs gd exch get } bd




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                             % Define setcolorspace partial emulation
                             /scs {
                                /SetColor {(Unsupported colorspace!) == } pd
                                dup /ColorSpace exch pd
                                dup type /arraytype eq { 0 get } if     dup dup dup
                                % If color space on stack is DeviceRGB, DeviceGray, DeviceCMYK
                                % or CIE based, set SetColor component of the ColorDict to an
                                % appropriate Level 1 color operator.
                                /ColorProcs gd exch known {
                                    dup ColorProc? /SetColor exch pd
                                    dup ColorValue? /NumColorValues exch pd
                                } if

                                % An Indexed color space
                                dup /Indexed eq {
                                % The Indexed color space provides a color table that allows
                                % the PS programs to access arbitrary colors in another space.
                                % The operand to setcolorspace (scs) is a 4 element array.
                                % These elements are:
                                % Indexed: Color space name
                                % base: an array or name that identifies the base color space.
                                % hival: Max valid index value.
                                % lookup: procedure or a string. It provides mapping between
                                % the values of index and the colors in the base color space.

                                      /NumColorValues /ColorSpace gd 1 get ColorValue? pd
                                      /ColorSpace gd 3 get type /stringtype ne {
                                         % lookup parameter is procedure!
                                         /SetColor [
                                         /ColorSpace gd 3 get
                                         /exec load
                                         /ColorSpace gd 1 get ColorProc?
                                      ] cvx bind pd
                                } {
                                    % lookup parameter is string
                                    /SetColor [
                                    /ColorSpace gd 3 get
                                    /NumColorValues gd
                                    3 -1 /roll load /mul load
                                    0 1 /NumColorValues gd 1 sub {
                                       1 index add
                                       2 index exch get 255 div
                                       3 1 roll
                                    } /for load
                                    /pop load /pop load
                                          /ColorSpace gd 1 get ColorProc?
                                       ] cvx bind pd
                                    } ifelse % arraytype
                                } if
                                pop
                             } bd

                             /sc {
                                /SetColor gd exec
                             } bd
                          } ifelse




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                                The following examples demonstrate sc and scs usage. Notice that the CIE-
                                based example builds the dictionary part of its operand in a way compatible
                                with Level 1 interpreters.

                                   /DeviceRGB scs
                                   .2 .4 .5 sc

                                   [/CIEBasedABC 3 dict 3 {dup} repeat
                                      /DecodeLMN [{1.8 exp} bind {1.8 exp} bind {1.8 exp} bind] put
                                      /MatrixLMN [[0.4497 0.2446 0.0252
                                                  0.3163 0.6720 0.1412
                                                  0.1845 0.0833 0.9227] put
                                      /WhitePoint [0.9505 1 1.0890] put
                                   ] scs
                                   .5 .3 .1 sc

                                   [/Indexed /DeviceRGB 255 <000000 FF0000 00FF00 0000FF
                                   B54367 ...> ]scs
                                   2 sc




  16     Matching RGB Color from Monitor to Printer                                              (14 Feb 92)
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                        Appendix: Changes Since
                        Earlier Versions


                        Changes since August 13, 1991

                        • Rewrote discussion to address application concerns more directly, and to
                          give a step by step description of the actions required to support matching
                          color.

                        • Changed the title from “Supporting the Calibrated RGB Color Space” to
                          “Matching RGB Color from Monitor to Printer” to better describe the
                          topic of this document.

                        • Used a different set of example monitor characteristics.

                        • Described the production of documents with device independent color
                          speciﬁcations.

                        • Emphasized the device speciﬁc nature of color rendering dictionaries.

                        • Provided a C code example converting monitor characteristics to the
                          appropriate dictionary to supply setcolorspace.

                        • Altered the setcolor/setcolorspace partial emulation.




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